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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DANIEL CAPLE                                                                       PLAINTIFF
Reg #27810-009

v.                               Case No. 4:21-cv-00688-KGB

BUREAU OF PRISONS                                                                DEFENDANT

                                             ORDER

       Before the Court is the Recommended Disposition submitted by United States Magistrate

Judge Edie R. Ervin (Dkt. No. 17). Judge Ervin recommends granting plaintiff Daniel Caple’s

request for voluntary dismissal (Dkt. Nos. 16; 17).      After careful consideration, the Court

concludes that the findings in the Recommended Disposition should be, and hereby are, approved

and adopted in their entirety as this Court’s findings in all respects (Dkt. No. 17). Mr. Caple’s

complaint is dismissed without prejudice (Dkt. Nos. 1; 16).

       It is so ordered this 24th day of June, 2022.

                                              __________________________________
                                              Kristine G. Baker
                                              United States District Judge
